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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                )
and THE STATE OF OKLAHOMA,               )
ex rel. WAYNE ALLISON, Relator,          )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )      Case No. CIV-16-0569-F
                                         )
SOUTHWEST ORTHOPAEDIC                    )
SPECIALISTS, PLLC, ET AL.,               )
                                         )
      Defendants.                        )

                                        ORDER

      The United States and the State of Oklahoma move for leave to intervene, in part,
for purposes of settling claims against certain defendants (Oklahoma Center for
Orthopaedic & Multispecialty Surgery, LLC, USP Oklahoma, Inc., USPI Holding
Company, Inc., USP International, Inc., and UAP of Oklahoma, LLC, Tenet Healthcare
Corporation, Southwest Orthopaedic Specialists, PLLC, Anthony L. Cruse, D.O., R.J.
Langerman, Jr., D.O., Daniel J. Jones, M.D., Mehdi Adham, M.D., Derek West, D.O.,
Brian Levings, D.O., Brad Reddick, D.O., Kristopher Avant, D.O., and Shane Hume,
D.O.). Doc. no. 187.
      Good cause has been shown. Having obtained additional information regarding the
claims in this action, the United States and Oklahoma have now resolved to settle or
otherwise consent to the dismissal of the claims against the above-listed defendants, which
include all but two remaining defendants. The proposed intervention is to effect the
settlement of those claims. Furthermore, intervention at this stage will not prejudice the
two remaining defendants, as to whom the United States and Oklahoma do not seek leave
to intervene at this time. Finally, relator consents to the motion, and the motion is
unopposed.
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        For good cause shown, the motion is GRANTED. The United States and the State
of Oklahoma are given leave to intervene, in part, as requested in their motion. They are
directed to do so within fourteen days of the date of this order.
        IT IS SO ORDERED this 26th day of June, 2020.




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